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GREEAR TREW, *
"k
PLAINTIFF, *
*
vs. * No. 04-2163-BP
*
AMERICAN INSTITUTE oF *
INTRADERMAL cosMETIcs, INc., *
And sANDI HAMMONS d/b/a *
PREMIER PIGMENTS, and cLARIANT *
coRPoRATIoN, *
DEFENDANTS.

 

CONSENT ORDER GRANTING EXTENSION OF TIME TO
CLARIANT CORPORATION FOR ANSWER TO COMPLAINT

 

THIS CAUSE came on to be heard upon the written motion of
Clariant Corporation for an extension from May 18, 2005 through
May 25, 2005, to file an Answer to the Second Amended Complaint.

It appearing to the Court that Plaintiff’s counsel consents
to the motion and that the motion should be granted;

IT IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that
Defendant Clariant Corporation be, and is hereby, granted an

extension through May 25, 2005, to file an Answer to the Second

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U. S. B‘I'S‘TR'I`CT_COURT’JUDGE
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DATE: W/\s/

Amended Complaint.

 

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With Huie 58 and/or 79(a) FHCP on g° ?~'°~5 ge

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 86 in
case 2:04-CV-02163 Was distributed by faX, mail, or direct printing on
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Honorable .1. Breen
US DISTRICT COURT

